AO 93 (Rev. 11/13) Search and Seizure Warrant




                                           UNITED STATES DISTRICT COURT
                                                                             for the
                                                                District of South Carolina

                  In the Matter of the Search of                                )
              (Briefly descrihe the proper~v lo he searched                     )
               or identify the person by name and address)                      )      Case No.   2:19-cr-357
                                                                                )
                                                ,SC                             )
                                                                                )

                                                  SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement ot1icer or an attorney for the government requests the search
of the following person or property located in the                              District of            South Carolina
(identify the person or describe the property to he searched and give its location):

      See Attachment A




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (ident/fj1 the person or describe the property to be seized):
      See Attachment B




        YOU ARE COMMANDED to execute this warrant on or before                    April 12, 2019        (not to exceed 14 days)
      ~ in the daytime 6:00 a.m. to I 0:00 p.m. 0 at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                The Honorable Bristol.N Marchant


      0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse resul 1st
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice tot
property, will be searched or seized (check the appropriate box)
     0 for-~~ days (not 10 exceed 30) □ until, the facts justifying, the later specific date of


Date and time issued:


City and state:             Charleston, SC
                                                                                                         Printed name and title
